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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

CASE NO. 25-mj-00074-CYC

UNITED STATES OF AMERICA,

               Plaintiff,

v.

2. HUMBERTO IVAN AMADOR GAVIRA,

               Defendant.


           EXHIBITS IN SUPPORT OF REQUEST FOR PRETRIAL RELEASE


       The defendant, Humberto Ivan Amador Gavira, by and through undersigned counsel,

Assistant Federal Public Defender Aron L. Israelite, respectfully submits the following Exhibits in

support of his release at his detention hearing scheduled for April 15, 2025, at 10:00 a.m.



                                               Respectfully submitted,

                                               VIRGINIA L. GRADY
                                               Federal Public Defender


                                               s/ Aron L. Israelite
                                               ARON L. ISRAELITE
                                               Assistant Federal Public Defender
                                               633 17th Street, Suite 1000
                                               Denver, CO 80202
                                               Telephone: (303) 294-7002
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                                               Attorney for Mr. Amador Gavira
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                                  CERTIFICATE OF SERVICE

     I hereby certify that on April 14, 2025, I filed the foregoing with the Clerk of Court using the
CM/ECF system, which will send notification of such filing to the following e-mail addresses:

       Albert C. Buchman, Assistant United States Attorney
       Email: al.buchman@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the following participant
in the manner (mail, hand-delivery, etc.) indicated next to the participant’s name:

       Humberto Ivan Amador Gavira (via U.S. Mail)

                                               s/ Aron L. Israelite
                                               ARON L. ISRAELITE
                                               Assistant Federal Public Defender
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                                               Denver, CO 80202
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                                               Aron_israelite@fd.org
                                               Attorney for Mr. Amador Gavira




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